      Case 18-82167                Doc 10           Filed 10/14/18 Entered 10/14/18 23:23:26                          Desc Imaged
                                                    Certificate of Notice Page 1 of 3
Information to identify the case:
Debtor 1              Robert E Monigold                                                 Social Security number or ITIN        xxx−xx−8887
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Northern District of Illinois
                                                                                        Date case filed for chapter 7 10/11/18
Case number:          18−82167


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Robert E Monigold

2.      All other names used in the
        last 8 years

3.     Address                               4405 Berkshire Close
                                             Rockford, IL 61114

4.     Debtor's attorney                     James E Stevens                                        Contact phone 815−962−6611
                                             Barrick, Switzer, Long, Balsley & Van Ev               Email: jimstevens@bslbv.com
       Name and address                      6833 Stalter Drive
                                             Rockford, Il 61108

5.     Bankruptcy trustee                    Bernard J Natale                                       Contact phone 815−964−4700
                                             Bernard J. Natale, Ltd.                                Email: natalelaw@bjnatalelaw.com
       Name and address                      Edgebrook Office Center
                                             1639 N Alpine Rd
                                             Suite 401
                                             Rockford, IL 61107
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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                                                  Certificate of Notice Page 2 of 3
Debtor Robert E Monigold                                                                                                   Case number 18−82167


6. Bankruptcy clerk's office                    Western Division                                             Hours open: 8:30 a.m. until 4:30
                                                327 South Church Street                                      p.m. except Saturdays, Sundays
    Documents in this case may be filed at this Rockford, IL 61101                                           and legal holidays.
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                           Contact phone 1−866−222−8029

                                                                                                             Date: 10/12/18

7. Meeting of creditors                          November 27, 2018 at 10:00 AM                               Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              308 West State Street, Room 40,
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            Rockford, IL 61101
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.
                                                 Debtors must bring a picture ID and proof of
                                                 their Social Security Number.

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 1/28/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 2
          Case 18-82167            Doc 10       Filed 10/14/18 Entered 10/14/18 23:23:26                         Desc Imaged
                                                Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 18-82167-TML
Robert E Monigold                                                                                          Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-3                  User: kcollopyn                    Page 1 of 1                          Date Rcvd: Oct 12, 2018
                                      Form ID: 309A                      Total Noticed: 18


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 14, 2018.
db             +Robert E Monigold,    4405 Berkshire Close,    Rockford, IL 61114-6104
27154087       +Codilis & Associates, P.C.,    15W030 North Frontage Road, Ste 100,     Burr Ridge, IL 60527-6921
27154090       +Juniper,   POB 60517,    City of Industry, CA 91716-0517
27154095       +MIDLAND STATES BANK,    1201 NETWORK CENTRE DRIVE,     Effingham, IL 62401-4677
27154093        Menards,   Capital One Retail Services,     POB 71106,    Charlotte, NC 28272-1106
27154096       +Nationstar Mtg LLC,    dba Mr. Cooper,    8950 Cypress Waters Blvd.,    Coppell, TX 75019-4620
27154097        Nissan Motor Acceptance Corp.,    Bankruptcy Dept.,     POB 660366,   Dallas, TX 75266-0366
27154099       +Personal Finance Co.,    5411 E. State Street, Suite 4,     Rockford, IL 61108-2908
27154100       +Swedish American,    Medical Group,    POB 78627,   Milwaukee, WI 53278-8627

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: jimstevens@bslbv.com Oct 13 2018 01:32:15       James E Stevens,
                 Barrick, Switzer, Long, Balsley & Van Ev,    6833 Stalter Drive,    Rockford, Il 61108
tr             +EDI: QBJNATALE.COM Oct 13 2018 05:13:00      Bernard J Natale,    Bernard J. Natale, Ltd.,
                 Edgebrook Office Center,   1639 N Alpine Rd,    Suite 401,    Rockford, IL 61107-1481
27154083       +EDI: CAPITALONE.COM Oct 13 2018 05:13:00      Capital One Services, LLC,     POB 30285,
                 Salt Lake City, UT 84130-0285
27154085       +EDI: RMSC.COM Oct 13 2018 05:13:00      Care Credit,   Synchrony Bank,    POB 960061,
                 Orlando, FL 32896-0061
27154086       +EDI: CHRM.COM Oct 13 2018 05:13:00      Chrysler Capital,    Bankruptcy Deptmt,    POB 961278,
                 Ft. Worth, TX 76161-0278
27154088       +EDI: CRFRSTNA.COM Oct 13 2018 05:13:00      Credit First N.A.,    POB 81344,
                 Cleveland, OH 44188-0001
27154089        EDI: ESSL.COM Oct 13 2018 05:13:00      Dish Network,   Dept. 0063,    Palatine, IL 60055-0063
27154091       +EDI: CBSKOHLS.COM Oct 13 2018 05:13:00      Kohl’s Payment Center,    POB 2983,
                 Milwaukee, WI 53201-2983
27154094       +EDI: MERRICKBANK.COM Oct 13 2018 05:13:00      Merrick Bank,    POB 660702,
                 Dallas, TX 75266-0702
                                                                                               TOTAL: 9

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
27154092          Mark Malvesti,   4405 Berkshire Close,    IL 61116
27154084*        +Capital One Services, LLC,   POB 30285,    Salt Lake City, UT 84130-0285
27154098*         Nissan Motor Acceptance Corporation,    Bankruptcy Department,   POB 660366,
                   Dallas, TX 75266-0366
                                                                                                                    TOTALS: 1, * 2, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 14, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 12, 2018 at the address(es) listed below:
              Bernard J Natale   natalelaw@bjnatalelaw.com, bnatale@ecf.epiqsystems.com
              James E Stevens   on behalf of Debtor 1 Robert E Monigold jimstevens@bslbv.com, dharris@bslbv.com
              Patrick S Layng   USTPRegion11.MD.ECF@usdoj.gov
                                                                                            TOTAL: 3
